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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

 

x
STEVEN ZIELINSKI, NANCY DOYLE
and MICHAEL SALTMAN, Index N0. Civ.
Plaintiff,
JURY TRIAL
- against - DEMANDED
TYMETRIX, INC. and ROBERT E.
HEINEMANN
August 31, 2006
Defendants.
x

As and for his Complaint in the above-captioned action, plaintiffs, Steven
Zielinski, Nancy Doyle and Michael Saltman, by and through their attorneys, Outten & Golden
LLP, alleges and states as follows:

NATURE OF THE ACTION

l. The plaintiffs assert common law claims of breach of contract, negligent
misrepresentation, promissory estoppel and fraud against the defendants. ln addition, Plaintiff
brings a statutory claim to recover damages caused by the defendants’ violations of Connecticut
Gen. Stat §31-71 e_t. M. In the claims related to promises by defendant Robert Heinemann, the
former President of Tymetrix, lnc., that, if Tymetrix Was sold, the plaintiffs, Who Were each

employed by Tymetrix, Would each get $l million dollars. Tymetrix Was sold on or about

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September l, 2003. However, the plaintiffs were not paid $l million dollars, or any other
money, as a result of the sale.
JURISDICTION AND VENUE
l2. This court has diversity jurisdiction pursuant to 29 U.S.C. § 1332. The plaintiffs reside
in Connecticut. The defendants reside in Connecticut and Florida. This court has supplemental
jurisdiction over plaintiffs related claims arising under state and local laws pursuant to 28 U.S.C.
§ l367(a).
3. Venue lies in this judicial district pursuant to 28 U.S.C. § l39l(b) because this action
arose, in substantial part, within the District of Connecticut, where most of the employment
practices alleged herein occurred and many of the records pertinent thereto are maintained.
PARTIES
4. Plaintiff Steven Zielinski (“Zielinski”) is a citizen of the United States who presently
resides in South Windsor, CT.
5. Plaintiff, Nancy Doyle (“Doyle”), is a citizen of the United States who presently resides
in Windsor, CT.
6. Plaintiff, Michael Saltman (“Saltman”) is a citizen of the United States who presently
resides at Boynton Beach, Florida.
7. Tymetrix, Inc. (“Tymetrix”), a Delaware corporation that is located at One Commercial
Plaza, Hartford, CT 06100. Tymetrix is a wholly-owned subsidiary of CT Corporation.
8. Robert Heinemann is the former President of Tymetrix, Inc. He presently resides at 5389
Pennock Point Road, Jupiter, Florida 33458-3493.
M_T_S

9. TyMetrix provides e-billing services and web-based matter management for its clients,

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which include corporate law departments and claims organizations.
10. The plaintiffs were each senior-level, veteran employees at TyMetrix.
ll. Heinemann told each of the plaintiffs on several occasions that, if TyMetrix was sold,
they would each get $l million.
l2. At his 2002 annual performance review, Zielinski told Heinemann that he was concerned
that he did not have either a retirement or insurance plan. Heinemann told Zielinski not to worry
because, if the company was sold, he would have a million dollars to invest.
l3. Each of the plaintiffs relied upon Heinemann’s promises by, ing Ml, continuing to
work for TyMetrix and declining other employment opportunities
l4. Zielinski relied upon Heinemann’s promises by deciding to purchase an insurance policy.
15. The plaintiffs continued to work extremely long hours at Tymetrix, sometimes, without
receiving annual pay raises, in reliance on Heinemann’s promise that, if the company was sold,
they would each get $l million.
16. On or about September l, 2003, TyMetrix was sold to CT Corporation for $38 million
upon information and belief, Heinemann and his wife, Shelley Wallace, who, along with
Heinemann, was the co-owner of Tymetrix, received $38 million as a result of the sale.
l7. None of the plaintiffs received $l million or any other benefits as a result of the sale of
TyMetrix.

LEGAL CLAIMS
18. Plaintiff incorporate paragraphs l-7 by reference.
l9. The defendants had a contract with each of the plaintiffs whereby each of them would be
paid $l million if the company was sold.

20. The defendants breached the contract.

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21. As a result of the breach, the plaintiffs have suffered damages

SECOND COUNT
NEGLIGENT MISREPRESENTATION
22. Plaintiffs incorporates paragraphs l though 7 by reference.
23. Defendant had a duty to provide plaintiffs with accurate information
24. Defendants made false representations to Zielinski, Doyle and Saltman that defendant
knew or should have known to be incorrect.
25. Defendant Tymetrix, through its authorized representative, told plaintiffs that they would
each get $l million if the company was sold.
26. The plaintiffs relied upon those representations and their reliance was reasonable
27. Zielinski, Doyle and Saltman has suffered damages as a result of defendant’s negligent
misrepresentation, including past and future lost wages and benefits, and past and future physical
and emotional distress
THIRD COUNT

FRAUD

28. Zielinski, Doyle and Saltman incorporates paragraphs l though 7 by reference

29. Defendants falsely represented to Zielinski, Doyle and Saltman that they would each
receive $l million if the company was sold.

30. Defendants’ representation that Zielinski, Doyle and Saltman would each receive $l
million if the company was sold was untrue and known to be untrue by defendant.

3 l. Based upon defendants’ promises, that Zielinski, Doyle and Saltman declined other

employment opportunities and continued to work for the defendant

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32. Zielinski, Doyle and Saltman has suffered damages as a result of Defendants unlawful
acts, including past and future lost wages and benefits, past and future physical and emotional
distress, and the costs of bringing this action.

FOURTH COUNT

PROMISSORY ESTOPPEL

33. Zielinski, Doyle and Saltman incorporates paragraphs l though 7 by reference.
34. Defendant promised Zielinski, Doyle and Saltman that they would each receive $l
million if the company was sold.
35. It was reasonable and foreseeable that Zielinski, Doyle and Saltman would rely on
Defendant’s promises
36. Zielinski, Doyle and Saltman’s reliance was detrimental Zielinski, Doyle and Saltman
continued to work for Tymetrix and did not explore other job opportunities
37. Refusing to compel the defendants to comply with their promises would be an inj ustice.
38. Zielinski, Doyle and Saltman has suffered damages as a result of defendant’s unlawful
acts, including past and future lost wages and benefits past and future physical and emotional
distress, and the costs of bringing this action.
FIFTH COUNT

C.G.S. § § 31-71 e_t. Lq.
39. Zielinski, Doyle and Saltman incorporates paragraphs l though 7 by reference.
40. The $l million each of the plaintiffs should have been paid was compensation for work
they each performed.
41. Each plaintiff was an “employee” as defined by Conn. Gen. Stat §§ 31-71 e_t. §§

42. Both defendants were “employers” as defined by Conn. Gen. Stat §§ 31-71 e_t. gay

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43. Each plaintiff is entitled to wages plus interest for the work they performed
44. Defendants willfully and intentionally refused to pay the plaintiffs wages for the work
they each performed
45. The plaintiffs are each is entitled to liquated damages of twice the amount of their total
unpaid wages and their attorneys’ fees

PRAYER FOR RELIEF

WHEREFORE, plaintiff respectfully requests that this Court:

l. Accept jurisdiction over this matter;
2. Order the defendants to compensate the plaintiffs, plus interest;
3. Enter judgment in favor of the plaintiffs for such amount as may be awarded by a jury

lost wages and benefits and compensatory damages for his physical and emotional suffering and
loss of enjoyment of life; j
4. Enter judgment in favor of the plaintiffs for such amount as may be awarded by a jury for
punitive damages;
5. Award to the plaintiff liquidated damages as provided for willful violations of Conn.
Gen. Stat §§ 31-71 e_t. §_eg.
6. Award to the plaintiff all costs and reasonable attorneys' fees incurred in connection with
this action;
7. Grant such additional or alternative relief as may appear to this Court to be just and
equitable.

JURY DEMAND

Plaintiff demands a trial by jury on all claims properly triable by a jury.

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Dated: Stamford, Connecticut
August 31, 2006

Respectfully submitted,

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By: g % ;ZM
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